IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
TIMOTHY GERRARD )
Plaintiff,
Vv. Case No. 3:12-cv-00090
NELSON REFRIGERATION, INC., Judge Haynes
Defendant.

STIPULATED ORDER OF DISMISSAL WITH PREJUDICE
Plaintiff Timothy Gerrard and Defendant Nelson Refrigeration, Inc., by and
through undersigned counsel and pursuant to Rule 41(a)(1) of the Federal Rules of Civil
Procedure, have reached a settlement of Plaintiffs claims, and hereby stipulate to the
dismissal of this action with prejudice, as evidenced by the signatures below
IT IS ACCORDINGLY ORDERED that the above-captioned matter shall be

dismissed with prejudice.

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SUBMITTED FOR ENTRY BY:

 

 

s/ Nina Parsley s/ Jessica Patrick

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Michael D. Ponce & Associates Jessica Patrick, [BPR No. 028039]

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Attorneys for Defendant

CERTIFICATE OF SERVICE
Thereby certify, in accordance with Local Rule 5.03(b), served upon William
Rutchow and Jessica Patrick filing users, through the Court’s Electronic Filing System at

the electronic address listed below.

William S. Rutchow, Esq.

Jessica Patrick, Esq.

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Bill. rutchow@ogletreedeakins.com
Jessica Patrick@ogletreedeakins.com

On this the 10 day of December, 2012.

s/Nina Parsley
Nina Parsley

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